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                             No. 21-15295
               ______________________________________________



United States Court of Appeals for the Ninth Circuit
                       APACHE STRONGHOLD,
                        Plaintiff-Appellant,
                                  v.
                UNITED STATES OF AMERICA, ET AL.,
                     Defendants-Appellees.

        On Appeal from the United States District Court
                  for the District of Arizona
                No. 2:21-cv-00050-PHX-SPL
                     Hon. Steven P. Logan

BRIEF OF THE SIKH COALITION AS AMICUS CURIAE IN
       SUPPORT OF PLAINTIFF-APPELLANT


                                       JOSHUA C. MCDANIEL
                                         Counsel of Record
                                       KELSEY BAER FLORES
                                       MATTHEW E. MYATT
                                       PARKER W. KNIGHT III
                                       HARVARD LAW SCHOOL
                                         RELIGIOUS FREEDOM CLINIC
                                       6 Everett Street, Suite 5110
                                       Cambridge, MA 02138
                                       (617) 496-4383
                                       jmcdaniel@law.harvard.edu

                                       Counsel for Amicus Curiae
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             CORPORATE DISCLOSURE STATEMENT

   Under Federal Rule of Appellate Procedure 26.1(a), the Sikh Coali-

tion certifies that it is a nonprofit organization. It has no parent corpo-

ration and no stock, so no publicly held corporation owns more than ten

percent of its stock.




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                   INTEREST OF AMICUS CURIAE1

    The Sikh Coalition defends the civil rights and liberties of all peo-

ple, promotes community empowerment and civic engagement within

the Sikh community, creates an environment where Sikhs can lead a

dignified life unhindered by bias and discrimination, and educates the

broader community about Sikhism to promote cultural understanding

and create bridges across communities. Ensuring religious liberty for all

people is a cornerstone of the Sikh Coalition’s work.

    The Sikh Coalition submits this brief to urge this en banc court to

harmonize how this circuit interprets the “substantial burden” term in

RFRA and its sister statute, RLUIPA. By reading the term in both stat-

utes according to its plain meaning, this Court will carry out Congress’s

intent to ensure the Apaches and other minority religious groups are

not left out of RFRA’s broad religious freedom protection.




1All parties have consented to the filing of this brief. See 9th Cir. R. 29-
2(a). No party’s counsel authored this brief in whole or in part, and no
person or entity other than amicus curiae or its counsel contributed
money intended to fund preparing or submitting this brief.

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                             INTRODUCTION

   In its now-vacated decision, the panel majority doubled down on a

strained reading of RFRA. Rejecting a “plain meaning” interpretation of

the statute’s substantial burden element, the panel reasoned that

RFRA addresses government actions that discourage or penalize reli-

gious practice but not government actions that outright prevent such

practice. Apache Stronghold v. United States, 38 F.4th 742, 759 (9th

Cir. 2022). As a result, the panel greenlighted a federal land transfer

that would make a two-mile-wide crater of a site held sacred by the

Apache people for centuries.

   That ruling is wrong as a textual matter. But worse, it creates a

glaring inconsistency in how this circuit interprets RFRA and its sister

statute, RLUIPA. Indeed, the panel majority recognized that its inter-

pretation of “substantial burden” in RFRA could not be squared with

this circuit’s interpretation of parallel language in RLUIPA. See id.

Even so, the panel brushed the difference aside, reasoning that “[w]hile

a ‘substantial burden’ under RLUIPA is defined by the ‘plain meaning’

of the phrase ‘substantial burden,’” id. (citation omitted), RFRA adopted

a different, “term of art” meaning, id. at 754.



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   The panel’s reasons for adopting different standards for the two

statutes are unavailing. First, the panel heavily relied on RFRA’s state-

ment of purpose—and RLUIPA’s lack of one. But a prefatory purpose

statement can’t override plain language in a statute’s operative text.

And even if it could, the panel reads too much into Congress’s state-

ment. Its stated purpose was to restore the compelling interest test from

prior case law, not to limit what counts as a “substantial burden” to the

kinds of burdens at issue in earlier cases.

   Second, the panel reasoned that Congress must have understood

“substantial burden” as a term of art with a meaning different from its

plain meaning. But that theory can’t explain why, just seven years later

when it passed RLUIPA, Congress sub silentio dropped the term of art

and employed the term in its plain-meaning sense. In any case, the

panel’s term-of-art theory lacks evidentiary support. Before Congress

passed RFRA, the Supreme Court described the burden element of a

Free Exercise claim in a multitude of ways. It hardly ever used the term

“substantial burden.”

   Third, the panel attempted to distinguish RLUIPA, reasoning that

the land exchange here “involves neither prisons nor local land



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regulation”—the two areas of government action covered by RLUIPA.

Id. at 759. But the panel overlooked that RFRA covers those same ar-

eas. RFRA applies to all federal action, which means it applies to fed-

eral prisons and federal land use restrictions. As a result, the panel’s re-

strictive substantial burden standard for RFRA cases would lead to

anomalous results in those overlapping contexts. It would mean, for ex-

ample, that prisoners in federal custody would fare better than simi-

larly situated prisoners in state custody. That couldn’t have been Con-

gress’s intent.

   Interpreting “substantial burden” according to its plain meaning—

as this Court already does under RLUIPA—makes this an easy case.

See Yellowbear v. Lampert, 741 F.3d 48, 56 (10th Cir. 2014) (Gorsuch,

J.) (denying “any access” to a religious activity “easily” constitutes a

substantial burden). Because the land transfer makes it not just

burdensome but impossible for the Apaches to practice their religious

beliefs at Oak Flat, the transfer imposes a clear substantial burden—

just as would a blanket denial of religious diets, meetings, or materials

in prison, or a law excluding a religious group from building a church,

synagogue, or temple in the land use context. Put simply, there is no



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burden more substantial than one that leaves a plaintiff with no ability

(and thus no choice) to engage in a core religious activity. See Apache

Stronghold, 38 F.4th at 784 (Berzon, J., dissenting).

   This Court should reject the panel majority’s atextual coercion

framework and interpret RFRA’s “substantial burden” element accord-

ing to its plain meaning.

                                ARGUMENT

I. In passing RFRA and RLUIPA, Congress sought to robustly
   protect religious freedom by ensuring judicial review when
   the government substantially burdens religion.

   Congress enacted RFRA to ensure broad protection of religious be-

lievers’ right to exercise their faith. Recognizing that many believers

were “largely . . . without recourse” after the Supreme Court’s decision

in Employment Division, Department of Human Resources of Oregon v.

Smith, 494 U.S. 872 (1990), Congress sought to restore (and even ex-

pand) the rights and remedies that had been in place before Smith. Re-

ligious Freedom Restoration Act of 1993, 139 Cong. Rec. H2356-03

(statement of Rep. Hamilton Fish); see also Burwell v. Hobby Lobby

Stores, Inc., 573 U.S. 682, 695 n.3 (2014) (noting that RFRA “provide[s]

even broader protection for religious liberty than was available” before



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Smith). In the words of then-Representative Chuck Schumer, RFRA’s

lead sponsor in the House, RFRA was designed to ensure “maximum re-

ligious freedom.” 139 Cong. Rec. H2356-03 (statement of Rep. Charles

Schumer).

   One way RFRA did so was by requiring judicial review whenever

the federal government imposes a “substantial burden” on religious be-

lief or practice. 42 U.S.C. § 2000bb-1. But aside from requiring the gov-

ernment-imposed burden to be substantial, Congress placed no limits

on what types of burdens would trigger scrutiny.

   Although Congress left “substantial burden” undefined, this Court

has recognized (in the RLUIPA context) that the term has an “ordinary,

contemporary, common meaning.” San Jose Christian Coll. v. City of

Morgan Hill, 360 F.3d 1024, 1034 (9th Cir. 2004) (quoting A–Z Int’l v.

Phillips, 323 F.3d 1141, 1146 (9th Cir. 2003)). The term plainly—and

simply—refers to any government action “that imposes a ‘significantly

great’ restriction or onus on ‘any exercise of religion.’” Id. at 1034–35.

   Congress carried that meaning forward seven years later when it in-

cluded the same “substantial burden” language in RLUIPA. See 42

U.S.C. § 2000cc et seq.; see also 146 Cong. Rec. E1563 (Sept. 22, 2000)



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(extension of remarks of Rep. Canady) (“Section 3(a) [of RLUIPA] ap-

plies the RFRA standard to protect the religious exercise of persons re-

siding in or confined to institutions . . . such as prisons . . . .”); Hobby

Lobby, 573 U.S. at 695 (“[RLUIPA] imposes the same general test as

RFRA . . . .”). RLUIPA did not alter RFRA’s standard. It contained only

two substantive differences—it focused on the prisoner and land use

contexts and it shifted the source of Congress’s power to pass the Act.

See Cutter v. Wilkinson, 544 U.S. 709, 715 (2005) (in contrast to RFRA,

RLUIPA “targets two areas”—land use regulation and prisons—and “in-

vok[es] federal authority under the Spending and Commerce Clauses”).

    Because “Congress use[d] the same language in two statutes having

similar purposes,” this Court starts with the “presum[ption] that Con-

gress intended that text to have the same meaning in both statutes.”

United States v. Nishiie, 996 F.3d 1013, 1026 (9th Cir. 2021) (quoting

Smith v. City of Jackson, 544 U.S. 228, 233 (2005)). Nothing in RLUIPA

suggests Congress sought to adopt a different understanding of “sub-

stantial burden” from RFRA. See Holt v. Hobbs, 574 U.S. 352, 357

(2015) (RLUIPA’s substantial burden provision “mirrors RFRA”);




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Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S.

418, 436 (2006) (RFRA and RLUIPA use “the same standard”).

   In short, by using the identical, undefined term “substantial bur-

den” in both RFRA and RLUIPA, Congress invoked the term’s words in

their plain and ordinary sense. This Court’s task is thus simple: its “sole

function . . . is to enforce [the statute] according to its terms.” San Jose

Christian Coll., 360 F.3d at 1034 (quoting Kaplan v. City of North Las

Vegas, 323 F.3d 1226, 1231–32 (9th Cir. 2003)).

II. The panel majority erred by holding that “substantial
    burden” in RFRA means something different than it does in
    RLUIPA.

   No one—including the panel majority—disputes that the wholesale

destruction of an important and longstanding Indigenous sacred site

amounts to “impos[ing] a ‘significantly great’ restriction or onus” on reli-

gious exercise. Id. at 1034–35 (citations omitted). Thus, under a plain-

meaning approach, the government action here is a clear-cut substan-

tial burden. The panel majority sidestepped that approach, however, by

concluding that while RLUIPA uses “substantial burden” in its plain-

meaning sense, RFRA does not. Apache Stronghold, 38 F.4th at 759. In-

stead, the panel majority reasoned, RFRA narrows the term to include



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only burdens like those in Sherbert and Yoder. Id. But the panel major-

ity’s reasons for reading the two statutes’ identical language differently

do not hold up to scrutiny. This en banc court should reject those rea-

sons and read RFRA and RLUIPA in harmony—just as at least eight

other circuit courts do.2

    A. RFRA’s prefatory purpose statement doesn’t trump its
       operative text.

    The panel anchored its differential treatment of the two statutes on

a statement of purposes in RFRA’s preface. Apache Stronghold, 38

F.4th at 753 (relying on “RFRA’s stated statutory purpose”); accord

Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1068 (9th Cir. 2008)

(en banc) (same). That statement explains that RFRA sought “to restore

the compelling interest test as set forth in Sherbert v. Verner, 374 U.S.


2 See, e.g., Sabir v. Williams, 52 F.4th 51, 60 & n.5 (2d Cir. 2022) (apply-
ing RLUIPA’s substantial burden precedent to a RFRA claim); U.S. Navy
Seals 1–26 v. Biden, 27 F.4th 336, 350 (5th Cir. 2022) (per curiam) (same);
EEOC v. R.G. & G.R. Harris Funeral Homes, Inc., 884 F.3d 560, 587 (6th
Cir. 2018) (same); Korte v. Sebelius, 735 F.3d 654, 682–83 (7th Cir. 2013)
(same); Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1138 & n.13
(10th Cir. 2013) (same); Patel v. U.S. Bureau of Prisons, 515 F.3d 807,
813 (8th Cir. 2008) (same); see also Mack v. Warden Loretto FCI, 839 F.3d
286, 304 n.103 (3d Cir. 2016) (same) (“[T]he two statutes are analogous
for purposes of the substantial burden test.”); Madison v. Riter, 355 F.3d
310, 315 (4th Cir. 2003) (RLUIPA “reinstate[d] RFRA’s protection against
government burdens” and “mirror[s]” its provisions).

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398 (1963) and Wisconsin v. Yoder, 406 U.S. 205 (1972) and to guaran-

tee its application in all cases where free exercise of religion is substan-

tially burdened.” 42 U.S.C. § 2000bb(b)(1). It mattered to the panel that

RFRA mentions Sherbert and Yoder but RLUIPA does not. See Apache

Stronghold, 38 F.4th at 759 (“[U]nlike RFRA, RLUIPA’s text does not

even mention, much less cite, either Sherbert or Yoder.”). The panel

viewed this distinction as “Navajo Nation’s key inference.” Id.

   But RLUIPA didn’t cite Sherbert or Yoder in its statement of find-

ings and purposes like RFRA did for a simple reason: RLUIPA doesn’t

have a statement of findings and purposes. Nor is the absence of such a

statement remarkable. One would expect Congress to have described its

findings and purposes in RFRA—a pathbreaking religious freedom stat-

ute that enshrined the compelling interest test for government-imposed

burdens on religion into statutory law. But not so with RLUIPA. There,

Congress was merely reapplying RFRA’s mandate to states and locali-

ties in two contexts after the Supreme Court limited RFRA’s scope to

the federal government in City of Boerne v. Flores, 521 U.S. 507, 512

(1997). For that reason, virtually every word of RFRA’s findings and




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purposes applies equally to RLUIPA. See 42 U.S.C. § 2000bb. Little can

be read into Congress’s decision not to repeat itself.

   Even if RFRA’s purpose statement did some work here, it wouldn’t

do what the panel majority says it does. The statement refers only to

the Sherbert/Yoder “compelling interest test,” not any supposed sub-

stantial burden standard from those cases. Id. § 2000bb(b)(1). And that

makes sense. Congress passed RFRA in the wake of a string of Supreme

Court decisions—culminating in Smith—that virtually eliminated the

compelling interest standard in free exercise cases. See Smith, 494 U.S.

872; Lyng v. Nw. Indian Cemetery Protective Ass’n, 485 U.S. 439 (1988);

O’Lone v. Est. of Shabazz, 482 U.S. 342 (1987); Goldman v. Weinberger,

475 U.S. 503, 504 (1986). In response, RFRA sought to restore that

standard as it had been set forth in Sherbert and Yoder. 42 U.S.C.

§ 2000bb(b)(1); see id. § 2000bb(a)(4)–(5) (RFRA finding that “the com-

pelling interest test as set forth in prior [f]ederal court rulings is a

workable test”). Though the panel majority tethered its entire substan-

tial burden analysis to the mention of Sherbert and Yoder in RFRA’s

prefatory statement, RFRA’s text is plain that Congress wanted to hold




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governments to the task of showing a compelling and narrowly tailored

interest, not to freeze in time what constitutes a substantial burden.3

    What’s more, the panel majority also used nonbinding language in

RFRA’s preface to supplant express terms in the statute’s main text.

But it’s well-established that “an expression of specific purpose in [a

statute’s] prologue will not limit a more general disposition that the op-

erative text contains.” A. Scalia & B. Garner, Reading Law: The Inter-

pretation of Legal Texts 219 (2012). Both this Court and the Supreme

Court have been clear on this point. See, e.g., Sturgeon v. Frost, 139 S.

Ct. 1066, 1086 (2019) (“[S]tatements of purpose, . . . by their nature,

‘cannot override a statute’s operative language.’’’ (quoting Scalia & Gar-

ner, supra, at 220)); Gonzalez v. Google LLC, 2 F.4th 871, 889 (9th Cir.

2021) (“Preambles and prefatory language are insufficient to alter the

substance of the phrases they precede . . . .”).




3 Notably, no court has applied the panel majority’s freezing-in-time in-
terpretation to limit the kinds of compelling interests that could justify
burdening religious practice to just those recognized in Sherbert and
Yoder (or other pre-Smith cases)—despite RFRA’s stated intent to restore
the compelling interest test from those cases. Nor would it make sense to
do so. Reducing RFRA’s broad protections to an “ossified” understanding
of pre-Smith precedent would be “absurd.” Hobby Lobby, 573 U.S. at 685;
see also id. at 706 n.18.

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      Here, RFRA’s plain text provides broad relief for anyone whose reli-

gious exercise is substantially burdened by the government. See

42 U.S.C. § 2000bb-1. Its operative text does not mention Sherbert or

Yoder, and nothing in that text even hints that the term “substantial

burden” should be confined to the burdens at issue in those cases. See

id.

      At bottom, “[w]hen Congress wants to link the meaning of a statu-

tory provision to a body of [Supreme Court] case law, it knows how to do

so.” Hobby Lobby, 573 U.S. at 714. It did not do so here.

      B. Congress didn’t give the term “substantial burden” a spe-
         cialized term-of-art meaning.

      The panel majority (and Navajo Nation) also reasoned that Con-

gress used the term “substantial burden” as a term of art. See Apache

Stronghold, 38 F.4th at 754–55 (reasoning that Supreme Court cases

“mandate” a “settled definition of a ‘substantial burden’ in the Free Ex-

ercise context”); see also Navajo Nation, 535 F.3d at 1074–75. But the

evidence that the term had acquired a “settled meaning” at odds with

its plain meaning falls far short. Apache Stronghold, 38 F.4th at 755.

      To be sure, statutory language can be read as a term of art, but

“only when the language was used in that way at the time of the


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statute’s adoption.” Yellen v. Confederated Tribes of Chehalis Rsrv., 141

S. Ct. 2434, 2445 (2021). And it must be clear that Congress meant to

invoke that understanding. Courts do not “ordinarily imbue statutory

terms with a specialized . . . meaning when Congress has not itself in-

voked” one. Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct. 2356,

2365 (2019).

   Here, nothing in RFRA’s text or legislative history suggests Con-

gress understood “substantial burden” as a term of art restricted to the

types of burdens at issue in Sherbert and Yoder. Far from it, in fact. To

begin with, neither Sherbert nor Yoder even used the term “substantial

burden.” See Sherbert, 374 U.S. at 403–06 (using the terms “incidental

burden,” “burden,” and “substantial infringement” interchangeably);

Yoder, 406 U.S. at 214, 218 (“impinges, “impact[s],” “substantially inter-

fer[es]”); see Michael C. Dorf, Incidental Burdens on Fundamental

Rights, 109 Harv. L. Rev. 1175, 1213–14 (1996) (noting how Sherbert

“provides little guidance for the substantiality inquiry” and that Yoder

is “equally unilluminating”). Other cases used the variation “substantial

pressure.” See Thomas v. Review Bd. of Ind. Emp. Sec. Div., 450 U.S.

707, 718 (1981); Hobbie v. Unemployment Appeals Comm’n, 480 U.S.



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136, 141 (1987) (quoting Thomas). As might be expected of a concept

that hadn’t crystallized into term-of-art status, courts routinely framed

the concept in their own words.4

    Only two pre-RFRA decisions in fact used the term “substantial

burden.” See Hernandez v. Comm’r, 490 U.S. 680, 699 (1989); Jimmy

Swaggart Ministries v. Bd. of Equalization, 493 U.S. 378, 384–85 (1990)

(quoting Hernandez); see also Michael A. Helfand, Substantial Burdens

as Civil Penalties, 108 Iowa L. Rev. (forthcoming 2023) (manuscript at

5) (“[T]he phrase ‘substantial burden’ rarely appeared in pre-Smith

Supreme Court decisions—and when it did, with very little

elaboration.”). And the same is still true today. Just recently, the

Supreme Court required a plaintiff to show only a “burden[]” to trigger




4 For other variations, see Lyng, 485 U.S. at 465–66 (Brennan, J., dis-
senting) (“governmental burdens,” “religious burdens”); Bowen v. Roy,
476 U.S. 693, 706 (1986) (“governmental burden”); Bob Jones Univ. v.
United States, 461 U.S. 574, 604 (1983) (“burden”); United States v. Lee,
455 U.S. 252, 257 (1982) (“burdens”); McDaniel v. Paty, 435 U.S. 618, 633
(1978) (Brennan, J., concurring) (“burden”); Johnson v. Robison, 415 U.S.
361, 387 (1974) (Douglas, J., dissenting) (“impermissible burden”); Gil-
lette v. United States, 401 U.S. 437, 462 (1971) (“burden”); Braunfeld v.
Brown, 366 U.S. 599, 607 (1961) (“burden”); Cantwell v. Connecticut, 310
U.S. 296, 307 (1940) (“forbidden burden”).

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review under the Free Exercise Clause. Kennedy v. Bremerton Sch.

Dist., 142 S. Ct. 2407, 2422 (2022).

   The judicial record alone is enough to rebut the idea that “substan-

tial burden” was a term of art in 1993. But if not, the congressional rec-

ord further disproves the theory. For one thing, were substantial bur-

den a specialized term of art, one would expect RFRA’s drafts to have

consistently reflected as much. But for almost the entire drafting pro-

cess RFRA simply required a “burden” on religious exercise. See Freder-

ick Mark Gedicks, “Substantial” Burdens: How Courts May (and Why

They Must) Judge Burdens on Religion Under RFRA, 85 Geo. Wash. L.

Rev. 94, 118 (2017). The qualifier “substantial” wasn’t added until “very

late” in the enactment process, after the bill first passed the House. Id.

So either “substantial burden” didn’t have a settled term-of-art meaning

or (far less likely) it acquired that meaning in the eleventh hour.

   For another, even if “substantial burden” suddenly took on a term-

of-art meaning at that late stage, then that settled understanding

would have only further solidified by the time RLUIPA was passed

seven years later. Yet the panel majority concluded the opposite—that

“substantial burden” achieved term-of-art status by 1993 but then



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somehow lost that status by 2000. Apache Stronghold, 38 F.4th at 759.

Such a quick about-face is implausible.

   The better explanation is the simpler one: Congress understood

“substantial burden” in 1993 the same way it did in 2000. At both

times, and in both statutes, Congress used the term according to its

plain meaning. See Holt, 574 U.S. at 361–62 (using RLUIPA’s text alone

to interpret “substantial burden”). This Court should do likewise.

   C. Applying different substantial burden standards in RFRA
      and RLUIPA cases would lead to arbitrary results.

   There is yet another problem with the panel majority’s approach. By

requiring different substantial burden standards under RFRA and

RLUIPA—a narrow “coercion” test for RFRA plaintiffs and a more pro-

tective plain-meaning test for RLUIPA plaintiffs—the panel majority’s

approach would lead to strange inconsistencies that Congress didn’t in-

tend.

   Take the prison context, for example. Say two Muslim prisoners—

one in federal prison and the other in state prison—are both denied ac-

cess to prayer oils. Both have identical claims. But under the panel ma-

jority’s view, the two cases would reach different outcomes. The federal

prisoner would likely lose under RFRA because his substantial burden


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claim doesn’t involve either the denial of a government benefit or the

threat of a government penalty. See Apache Stronghold, 38 F.4th at

754. The state prisoner, by contrast, would almost surely prevail. Ap-

plying the plain meaning of “substantial burden” in the RLUIPA con-

text, this Court has had “little difficulty in concluding that an outright

ban on a particular religious exercise is a substantial burden.” Greene v.

Solano Cnty. Jail, 513 F.3d 982, 988 (9th Cir. 2008); see Johnson v.

Baker, 23 F.4th 1209, 1214–16 (9th Cir. 2022) (prison’s refusal to pro-

vide Muslim inmate with access to prayer oils constitutes a substantial

burden because it “prevents [the inmate] from praying according to his

faith”). There is no principled basis for treating the two prisoners differ-

ently—and certainly not one Congress would have expected.5



5 Case law is replete with other examples. See, e.g., LeBaron v. Spencer,
527 F. App’x 25, 29 (1st Cir. 2013) (denying an inmate access to a syna-
gogue and “completely barr[ing]” group prayer is a substantial burden);
Washington v. Klem, 497 F.3d 272, 281 (3d Cir. 2007) (prison policy lim-
iting the number of books in a cell “constitutes a substantial burden
which impedes [plaintiff] from exercising his professed religion”); Acker-
man v. Washington, 16 F.4th 170, 184 (6th Cir. 2021) (preventing access
to religiously required food is a substantial burden); Cavin v. Michigan
Dep’t of Corr., 927 F.3d 455, 458–59 (6th Cir. 2019) (prison policy “[b]ar-
ring group worship and preventing access to [religious] supplies” is a sub-
stantial burden); West v. Radtke, 48 F.4th 836, 845 n.3 (7th Cir. 2022) (“A
substantial burden might also arise when a prison declines to provide an


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   Or consider RLUIPA’s second application: land use. In that context,

RLUIPA prohibits states and localities from not only coercing but ex-

cluding religious groups or even just making it harder for them to build

a place to worship. See, e.g., Guru Nanak Sikh Soc. of Yuba City v. Cnty.

of Sutter, 456 F.3d 978, 989–92 (9th Cir. 2006) (finding a substantial

burden where a county’s permit denials hindered a Sikh organization’s

ability to build a temple).6 If, for example, a local government seizes a

Sikh gurdwara by eminent domain, that is a substantial burden under



inmate access to something that will allow him to exercise his religion.”);
Abdulhaseeb v. Calbone, 600 F.3d 1301, 1317 (10th Cir. 2010) (denying a
Muslim inmate a halal diet constitutes a substantial burden); Thai Med-
itation Ass’n of Alabama, Inc. v. City of Mobile, 980 F.3d 821, 830 (11th
Cir. 2020) (“complete[] prevent[ion]” of religious exercise is an “example
of the sort of conduct that clearly satisfies the substantial-burden stand-
ard”); see also Dorman v. Aronofsky, 36 F.4th 1306, 1314 (11th Cir. 2022)
(the coercion-based “formulations are only examples—and not prerequi-
sites—of a substantial burden”).
6 See also, e.g., Jesus Christ Is the Answer Ministries, Inc. v. Baltimore

Cnty., 915 F.3d 256, 261–62 (4th Cir. 2019) (“prevent[ing]” or “barr[ing]”
church from using a property for religious exercise is a substantial bur-
den); World Outreach Conf. Ctr. v. City of Chicago, 787 F.3d 839, 843 (7th
Cir. 2015) (“frivolous suit aimed at preventing a religious organization
from using its only facility” imposed substantial burden); Fortress Bible
Church v. Feiner, 694 F.3d 208, 219 (2d Cir. 2012) (substantial burden
exists where church faced a “complete denial” and could not construct
another “adequate facility to accommodate its religious practice”); Mid-
rash Sephardi, Inc. v. Town of Surfside, 366 F.3d 1214, 1227 (11th Cir.
2004) (substantial burden includes a regulation that “completely pre-
vents the individual from engaging in religiously mandated activity”).

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RLUIPA. See Cottonwood Christian Ctr. v. Cypress Redevelopment

Agency, 218 F. Supp. 2d 1203, 1227–28 (C.D. Cal. 2002) (finding sub-

stantial burden when locality seized church property to build a Costco

in its place). But if the federal government does the same and gives the

gurdwara to a copper mine, then under the panel majority’s view the

government gets a free pass under RFRA.

   Taken to its logical end, that reasoning means the same land use

regulation could be “substantial” in Montgomery County, Maryland (un-

der RLUIPA) but not a mile away in the District of Columbia (under

RFRA). See W. Presbyterian Church v. Bd. of Zoning Adjustment, 862 F.

Supp. 538, 546 (D.D.C. 1994) (applying RFRA to a D.C. land use ordi-

nance and enjoining the ordinance’s prohibition of a church soup

kitchen). Congress surely did not intend arbitrary differences like these

when it adopted the same substantial burden language in RLUIPA that

it had used in RFRA.

   That arbitrariness is compounded here, because worship at sacred

sites like Oak Flat is a unique and central aspect of many Indigenous

religions. See Stephanie Hall Barclay & Michalyn Steele, Rethinking

Protections for Indigenous Sacred Sites, 134 Harv. L. Rev. 1294, 1304–



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07 (2021). The destruction of one of those sacred sites is at least as

harmful as locking a church—except that churchgoers could open an-

other church elsewhere. See McCurry v. Tesch, 738 F.2d 271, 275 (8th

Cir. 1984) (locking a church and denying access violates the First

Amendment). The destruction of Oak Flat means permanently ending a

centuries-old aspect of the Apaches’ religious practice.

   Beyond this, limiting substantial burdens to coercive government

conduct would also give broad leeway for the federal government to be

more oppressive—particularly towards religious minorities, who often

lack the “de facto protection” that comes with political influence.

Thomas C. Berg, Minority Religions and the Religion Clauses, 82 Wash.

U.L.Q. 919, 925 (2004). Just this past summer, federal border patrol

agents forcibly removed turbans from dozens of Sikh men seeking asy-

lum, tossing the turbans in a trash pile. John Washington, Border Pa-

trol Agents Are Trashing Sikh Asylum-Seekers’ Turbans, The Intercept

(Aug. 2, 2022), https://perma.cc/J38N-6T97. Muslims have faced similar

treatment. See Compl., Powell v. City of Long Beach, No. 2:16-cv-2966

(C.D. Cal. Apr. 29, 2016), ECF No. 2 (government forcibly removed a

woman’s hijab); Notice of Settlement, Powell (C.D. Cal. June 28, 2017),



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ECF No. 34. Because the panel majority’s coercion framework does not

account for the many ways the government can simply put an end to re-

ligious activity, adopting that framework would give the federal govern-

ment an easy means to evade judicial scrutiny.

   These troubling outcomes can be avoided if this Court clarifies that

RFRA’s and RLUIPA’s identical substantial burden language should be

read identically—according to its plain meaning.

                               CONCLUSION

   RFRA and RLUIPA should be read in tandem. The substantial bur-

den language in both statutes protects against more than just the indi-

rect use of “carrots and sticks.” Apache Stronghold, 38 F.4th at 780

(Berzon, J., dissenting). When read according to its plain and ordinary

meaning, it also protects against government action that outright pre-

vents or thwarts religious practice.

   This en banc court should reject the panel majority’s contrary rea-

soning (as well as that of Navajo Nation) and reverse the district court’s

rejection of plaintiff’s RFRA claim.




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                                    Respectfully submitted,

                                    /s/ Joshua C. McDaniel
                                    JOSHUA C. MCDANIEL
                                      Counsel of Record
                                    KELSEY BAER FLORES
                                    MATTHEW E. MYATT
                                    PARKER W. KNIGHT III
                                    HARVARD LAW SCHOOL
                                      RELIGIOUS FREEDOM CLINIC
                                    6 Everett Street, Suite 5110
                                    Cambridge, MA 02138
                                    (617) 496-4383
                                    jmcdaniel@law.harvard.edu

                                    Counsel for Amicus Curiae




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                  CERTIFICATE OF COMPLIANCE

   This brief complies with Fed. R. App. P. 32(a)(7)(B) and Circuit Rule

29-2(c)(3) because it contains 4,657 words, excluding the parts ex-

empted by Fed. R. App. P. 32(f).

   This brief also complies with the typeface and type-style require-

ments of Fed. R. App. P. 32(a) because it has been prepared in a propor-

tionally spaced, 14-point Century Schoolbook font.

   Dated: January 9, 2023

                                         /s/ Joshua C. McDaniel
                                         Joshua C. McDaniel




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                     CERTIFICATE OF SERVICE

   I certify that on January 9, 2023, I served this document on all par-

ties or their counsel of record via CM/ECF.

   Dated: January 9, 2023

                                         /s/ Joshua C. McDaniel
                                         Joshua C. McDaniel




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